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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                   CASE NO.      3:05cr87 RV and
                                                                          3:06cv559 RV/MD
RODRIGO ULLO MARTINEZ
a/k/a CHINO
a/k/a RODRIGO MARTINEZ-ULLOA

                                    REFERRAL AND ORDER

Referred to Judge Vinson on 06/07/2007
Type of Motion/Pleading RULE 59 (e) RECONSIDERATION MOTION FOR LEAVE
TO FILE AN OUT-OF-TIME OBJECTION TO MAGISTRATE’S REPORT AND
RECOMMENDATION DUE TO EXTRAORDINARY CIRCUMSTANCES
Filed by: Defendant              on 6/7/07        Doc. No. 130
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on               Doc. No.
                                 on               Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT


                                               Deputy Clerk: Lynn Uhl

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this                      11th   day of
   June                 , 2007, that:
(a)    The requested relief is GRANTED only to June 21, 2007.
(b)    The order of May 21, 2007 (doc. 125) is vacated and set aside,
       for good cause shown.




                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
